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                      Exhibit 2
     January 11, 2020 INOVA's
        After Visit Summary
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AFTERVISITSUMMARY
                        --- ---
2 a ckary E.Sanders DoB: 2/16/ 1995
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                                                                                      I INOV~
                                                                         -- - = = -----                 ----
                                                ~ 1/11/2020 2:00 PM 9 !nova Urge nt Care Tysons Corner 571-665-6440




Instructionsfrom           Norina Cukon-Lyons, NP
                                                                           Today'sVisit
Your persona lized instructions can be found at the end of this
documen t.                                                                 You saw No rina Cukon-Lyons, NP on
                                                                           Saturday January 11, 2020 for: Sinus
                                                                           Problem and Eye Pain. The fol lowing
        Today'smedication changes                                          issues were add ressed: Cough and
        C) START taking:                                                   Influenza B.
           guaiFENesin-codeine(ROBITUSSINw Codeine)
           oseltamivir(TAMIFLU)                                              1/:\l   Blood          ~      BMI
                                                                             ~       Pressure
                                                                                                    ~      36.18
        Accurate as of January 11, 2020 3:50 PM.                                     145/98
        Review your updated medication list below.
                                                                            ~ Weight                R~ Height
                                                                            0        245 lb         ViJ5' 9"-
        Pick up these medications at CVS/pharmacy
~
00
        #1397 - MCLEAN. VA - 1452 CHAIN BRIDGE                                  ~=Temperature      t(M )i Pulse
        ROAD AT CHAIN BRIDGE CENTER                                           ~- 98.1 °F           \VJ!   120
        guaiFENesin -code ine • oseltamivir
                                                                             0~      Respiration    0      Oxygen
         Address: 14 52 CHAIN BRIDGE ROAD, MCLEAN VA 22101
         Phone: 703-883-0157
                                                                             roe)
                                                                                22                  (uu)   Saturation
                                                                                                           98%

                                                                           ~ Orders Placed Today
What's Next                                                                     XR Chest 2 Views for Cough
 JAN    NEURO OP NEW PATIENT                     !nova Medical Group            Infl uenza A/8 for Cough
 23     with Sonalee Kulkarni, MD                Neurology Fairfax
 2020   Thursday January 23 2:20 PM              8505 Arlington Blvd
                                                 Suite 450
                                                 Fairfax VA 22031 -4630
                                                 703-280 -1234

 JAN    Follow Up Appointment with               !nova Medical Group
 29     Rahul H Dave, MD PhD                     Neurology Fairfax
 2020   Wednesday January 29 1:00 PM             8505 Arlington Blvd
                                                 Suite 450
                                                 Fairfax VA 22031 -4630
                                                 703 -280- 1234



Point of Care Results
Influenza A/B
                                                    Standard Range &
Component                    Value                  Units
POCT Rapid Influen za A      Negative               Negative
AG




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Allergies
No Known Allergies


No results for this visit




  MyChartSign Up
  MyCha1t               Status : Active

 You currently have an active MyChart account which allows you to send secure messages to your docto r, view your
 test results, request prescript ion refills, request or
 schedule appointments, and more.

  If you have not logged in to MyChart for a while and have forgotten your user name or password please use the
  "Forgot MyChart Username" or "Forgot MyChart Password" links located next to the logon boxes at inova.org/
  mychart or valleyhealthlink.com/mychart

  If you have any questions regarding your results please contact your Primary Care Physician (Doctor's Office).

 *Remember,fv1yChartis NOT to be usedfor urgent needs.For medical emergencies,dial 9 71. For same-day concerns,
 please contactyour primary health care provider.


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Changes to Your Medication List
                                    CDAccurateas of January11,2020          3:50 PM.
                                  If yo u have any questio ns, ask your nurse or doc t or.




START
    takingthesemedications
e       guaiFENesin-codeine 100-10 MG/SML syrup
       Commo nly known as: ROBITUSSINw Code ine
 START St arted by: Nor ina Cukon-Lyons, NP
                                                                    Take 5 ml s by mouth nig htly as needed fo r Coug h




e       oseltamivir 75 MG capsule
       Commonly known as: TAMI FLU
 START Started by: No rina Cukon- Lyons, NP
                                                                   Take 1 capsule (75 mg to t al) by mou t h 2 (two) t imes
                                                                   daily for 5 days




CONTINUEtaking these medications
        fluticasone-salmeterol 11s-2 1 MCG/ACT inhaler              Inhale 2 puffs int o th e lungs 2 (two) t imes daily
        Common ly known as: ADVA IR HFA


        ibuprofen 800 MG table t                                   Take 1 ta blet (800 mg t otal) by mout h every 8 (eight )
        Common ly known as: ADVlL,MOTRIN                           hou rs as needed fo r Pain


        rizatriptan 1O MG t ablet                                  Take 1 tablet (10 mg t ot al) by mou t h once as needed
        Commonly known as: MAXALT                                  for M igra ine.for up to 1 dose May repeat in 2 hour s if
                                                                   needed. Max 2/ day


        * Topiramate ER 50 MG Cp24                                 Take 50 mg by mout h da ily.
        Common ly known as: TROKENDI XR


        * Topiramate ER 100 MG Cp24                                Take 100 mg by mouth daily.
        Common ly known as: TROKENDI XR


  +   *T his list has 2 medication(s) that are the same as other medicationsprescribedfor you. Readthe directions
                      carefully, and askyour doctor or other care providerto review them with you.




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Instructionsfrom Norina Cukon-Lyons, NP
Influenza (Adult)




Influenza is also called t he flu. It is a viral illness that affects the air passages of your lungs. It is diffe rent from the
common cold. The flu can easily be passed from one to person to another. It may be spread through the air by
coughing and sneezing. Or it can be spread by touching the sick person and the n touching your own eyes, nose, o r
mouth.

The flu starts 1 to 3 days after you are exposed to t he flu virus. It may last for 1 to 2 weeks but sometimes peop le feel
tired or fat igued for many weeks afterward. You usually don't need to take antibiot ics un less you are at high risk fo r or
have a complication. This might be an ear or sinus infection or pneumonia.

Symptoms of the flu may be mild or severe. They can include extreme ti redness (wanting to stay in bed all day), chills,
fevers, muscle aches, soreness wi th eye movement, headache, and a dry, hacking cough.

Antiv iral medicine treatment for the flu is available by prescription and may be effective in reducing the duratio n and
severity of flu symptoms if started within 48 hours. Your prov ider may perform a d iagnostic test to determine if you
have influenza and which strain you have.




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Home care

Follow these guidelines when caring for yourself at home:



 • Avoid being around cigarette smoke, whether yours or other peop le's.



 • Acetaminophen
               or ibuprofenwill helpeaseyourfever,muscle aches,andheadache.
                                                                         Don't give aspirin to anyone
   younger than 18 who has the flu. Use of aspirin younger than 18 can cause a serious condit ion called Reye
   syndrome.


 • Nausea, loose stools, and loss of appetite are common w ith t he flu. Eat lig ht meals. Drink 6 to 8 glasses of liq uids
   every day. Good choices are water, sport drinks, soft dr inks without caffeine, juices, tea, and soup. Extra fluids will
   also help loosen secretions in your nose and lungs.



 • Over-the-counter cold medicines wi ll not make the flu go away faster. But the medicines may help with coughing,
   sore throat, and congestion in your nose and sinuses. Don't use a decongestant if you have high blood pressure.


 • Stay home until your fever has been gone for at least 24 hours without using med icine to reduce fever.
Follow-up care

Follow up with your healthcare provider , or as advised, if you are not getting better over the next week.

If you are age 65 or o lder, talk w ith your provider about gett ing a pneumococcal vaccine every 5 years. You should also
get thi s vaccine if you have chronic asthma or COPD. All adults should get a flu vaccine every fall. Ask your prov.icier
about th is.

When to seek medical advice

Call your healthcare provider right away if any of these occur:


 • You have symptoms of the flu and are immune compromised (such as by cancer, transplant, or HIV) or you are
   taking medicines th at can weaken th e immune system (such as steroids and certa in ant i-inflammatory
   medicin es).Cough with lots of colored mucus (sputum) or blood in your mucus


 • Chest pain, shortness of breath, wheezing , or trouble breathing


 • Severe headache, or face, neck, or ear pain


 • New rash with fever


 • Fever of 100.4°F (38°() or higher, or as directed by your healthcare provider


 ~ Confusion , behavior change, or seizure




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 • Severe weakness or dizziness



 • You get a new fever or cough after getting better for a few days
StayWell last reviewed this educational content on 1/ 1/ 2017

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information is not intended as a subst itute for professional medical care. Always follow you r healthcare professional's
inst ructions .




MyChart ResultReminder
If you have had tests ordered by our office and have not heard from us about the results w ithin 10 days from the t ime
the test was done, please send us a secure message on MyChart and we wil l gladly discuss t hem with you. If the patient
is between the ages of 12 and 17 please call t he office .




Notice of Non-Discrimination

As a recip ient of federa l financial assistance, lnova Health System ("I nova") does not exclude, deny benefits to, or
otherwise discriminate against any person on the basis of race, colo r, national or igi n, sex, disabil ity, or age in admission
t o, part icipat ion in, or receipt of the services o r benefits under any of its prog rams or activiti es, whet her carried out by
!nova direct ly or through a contractor o r any other entity wi t h which Inova arranges to carry out its programs and
activities .

This policy is in accordance with the provisions of Tit le VI of the Civil Righ ts Act of 1964, Section 504 of the
Rehabilitation Act of 1973, the Age Discrimination Act of 1975, Section 1557 of the Affordab le Care Act, and regulat ions
of t he U.S. Department of Health and Human Services issued pursuant to these statutes at 45 C.F.R. Parts 80, 84, 91 and
92, respect ively.

!nova:
         • Provides free aids and services to peop le wit h disabiliti es t o communicate effective ly with us, such as:
                 o Qualified sign language interpre t ers
                 o Written informa tion in ot her formats (large print , audio , accessible electronic fo rmat s, othe r formats)
         • Provides free language services to people whose primary language is not English, such as:
                 o Qualified interpreters
                 o Informa tion written in other lang uages

If you need these services, please let our staff know of your needs for effective communica t ion.




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If you believe that Inova has failed to provide these services or discriminated in another way on the basis of race, color,
national or igin, age, disability, or sex, yo u can file a grievance by calling 703.205.2175. You can file a gr ievance in person
or by mail, fax, or email. If you need help filing a g rievance, t he Patient Relations staff is available to help you.

You can also file a civil rights complaint with the U.S. Department of Health and Human Services, Office for Civil Rights ,
elect roni cally t hrough the Office fo r Civil Rights Complain t Portal, available at https ://ocrportal hhs goy/ocr/ porta l/
lob by.jsf, or by mail or phone at:


U.S. Department of Health and Human Services
200 Independence Avenue, SW
Room 509F, HHH Building
Washington, D.C. 20201 1-800-868-1019, 800- 537-7697 (TDD)

Complaint forms are available at http://www,hhs. gov/ocr/office/fil e/index. ht ml




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   Interpreter Services are available at no cost to you.
           Please let our staff know of your needs for effective communication.
                 Atenci6n: Si usted habla espanol, tiene a su disposicion setvicios gratuitos de asistencia con el idioma.
   Spanish
                 Por favor informele a nuestro personal sabre sus necesidades para lograr una comunicaci6n efectiva.

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   French
                  Attention Si vous parlez Francais, cles services d'aide linguistique vous sont proposes gratuitement.
                      Veuillez informer notre personnel de VO$ besoins pour assurer une communication efficace.

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                    Achtung: Wenn Sie Deutsch sprechen, stehen kostenlose Setvice-Sprachdienstleistungen zu lhrer
   German
                     Verfugung. Teilen Sie unserem Team bitte lhre Wunsche fur eine effektive Kommunikation mit.

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                         Akiyesi: Bi o ba nso Yoruba, awon ise iranilowo ede wa l'ofe fun o. Jowo je ki ara ibise wa mo
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